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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PAUL BEGNOCHE,
Petitioner, :
V. : 3:15-CV-2047
(JUDGE MARIANI)
BRIAN THOMPSON, et al.,
Respondents.
ORDER

ed
AND NOW, this / hay of July, 2020, upon consideration of Petitioner's
Motion for Reconsideration (Doc. 181), and in accordance with this Court’s accompanying

Memorandum, IT IS HEREBY ORDERED THAT the Motion (Doc. 181) is DENIED.

 

77 dha
Robert D Marian _
United States District Judge
